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 1                          UNITED STATES DISTRICT COURT
 2                                DISTRICT OF NEVADA
 3
 4    UNITED STATES OF AMERICA,         )
                                        )
 5      Plaintiff(s),                   )
                                        )
 6    vs.                               )           2:10-cr-370-KJD-RJJ
                                                    2:10-cr-310-KJD-RJJ
                                        )
 7    ALFRED T. SAPSE,                  )
      RALPH T. CONTI,                   )
 8                                      )
        Defendant(s).                   )
 9                                      )
10
            This Court having ordered the jury impaneled in the above-
11
      entitled action to be kept together during period(s) of deliberation,
12
      now, therefore,
13
            IT IS ORDERED that all meals for said jury shall be paid by the
14
      Clerk of Court for November 27, 2012.
15
16
      DATED this 27th    day of November, 2012.
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18
19                                                  KENT J. DAWSON
                                                    U. S. DISTRICT JUDGE
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